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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


IN RE                                               )        CASE NO. 03-93031-mhm
                                                    )
GROUP MANAGEMENT CORP.,                             )        Chapter 11
a/k/a IVG CORP.,                                    )
                                                    )        JUDGE MARGARET H. MURPHY
Debtor.                                             )
                                                    )
----------------------------------------------------)

      BRIEF IN SUPPORT OF EMERGENCY MOTION TO DISMISS OR, IN THE
    ALTERNATIVE, FOR RELIEF FROM THE AUTOMATIC STAY, AND REQUEST
                        FOR EMERGENCY HEARING

           Alpha Capital Aktiengesellschaft (“Alpha”), Amro International, S.A. (“Amro”),

Markham Holdings, Ltd. (“Markham”), and Stonestreet Limited Partnership (“Stonestreet”)

(hereinafter collectively referred to as the “Movants”) hereby submit their Brief in Support of

Emergency Motion to Dismiss, or in the Alternative, for Relief from the Automatic Stay, and

Request for Emergency Hearing (the “Motion”):

                                                        I.

                                            INTRODUCTION

           The Movants have moved for an Order of this Court dismissing this Chapter 11 case

on the grounds that, among other things, the case has been commenced in bad faith by the

Debtor, Group Management Corp., a/k/a IVG Corp. (the “Debtor” or Group Management”),

in an obvious effort to evade compliance with an Order and Judgment and Contempt Order

of the United States District Court for the Southern District of New York. Group

Management’s bad faith is demonstrated by, among other things: (1) the filing of this case

only five (5) days following the District Court’s issuance of the Contempt Order; (2) the


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filing of this case by Thomas Ware, an attorney who, until at least the day prior to the filing

of the Chapter 11 petition, was a director and Chief Executive Officer of Group

Management, who is expressly identified in and personally subject to the Contempt Order

and who has also been sanctioned and barred from practicing before this Court since at least

August of 1999; (3) the Debtor’s failure to file Schedules of Assets and Liabilities and its

Statement of Financial Affairs as required by Rule 1007 of the Federal Rules of Bankruptcy

Procedure; (4) the Debtor’s moving on an emergency basis, when no emergency has been

cited or exists, to reject contracts which are the subject of the Order and Judgment of the

District Court, where the Debtor’s obligations under those contracts have been fully litigated

and the Debtor’s compliance mandated by a final order and judgment of that Court; (5)

Group Management has, at most, two creditors other than the Movants; and (6) Group

Management apparently has few, if any, assets and no ongoing business operations. These

indicia of bad faith are more than sufficient grounds for this Court to dismiss this Chapter 11

case pursuant to 11 U.S.C. § 1112(b), or to abstain from hearing the case pursuant to 11

U.S.C. § 305(a).

           In the alternative, should this Court determine not to dismiss the Debtor’s Chapter 11

case, the Movants request, pursuant to 11 U.S.C. § 362(d), relief from the automatic stay of

11 U.S.C. § 362(a) to enforce the Orders of the United States District Court for the Southern

District of New York entered in an action fully litigated before that Court.

                                                 II.

                                    STATEMENT OF FACTS

           Movants are holders of Convertible Notes issued by Group Management on or about

February 2, 2001, which, pursuant to Subscription Agreements, are convertible to the


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common stock of Group Management. Group Management defaulted on its obligations

under the Convertible Notes and failed to honor requests by the Movants to convert the notes

to the common stock of Group Management. Thereafter, an action was commenced by the

Movants against Group Management and its directors (Thomas Ware, Len Churn and Barry

Corker) in the United States District Court for the Southern District of New York entitled

Alpha Capital Aktiengesellschaft, et al. v. Group Management Corp., et al., Case No. 02 Civ.

2219 (LBS). That action has been fully litigated and orders and a judgment entered by that

Court against the Debtor and its officers and directors.

           On November 25, 2002, an Order and Judgment was entered by the District Court in

favor of the Movants and against Group Management and its officers and directors. A copy

of the Order and Judgment is attached hereto as Exhibit A. The Order and Judgment requires

Group Management to, among other things, honor all conversion requests of the Movants.

Thereafter, on February 20, 2003, the Movants filed a motion for contempt in the District

Court for, among other reasons, the failure of Group Management and its directors to comply

with the District Court’s Order and Judgment of November 25, 2002. The Debtor still

having failed and refused to comply, on March 13, 2003, the District Court entered a

Contempt Order against Group Management and its directors, Thomas Ware and Barry

Corker, providing, among other things, that in the event of continued non-compliance “the

Court shall issue a warrant for the arrest of Thomas Ware and Barry Corker and they shall

stand committed in the custody of the U.S. Marshall in the district in which they are

arrested.” A copy of the Contempt Order is attached hereto as Exhibit B.

           On March 18, 2003, just five (5) days after the District Court entered the Contempt

Order, Group Management commenced this case. The attorney purporting to represent


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Group Management and who signed the petition was Thomas Ware. Subsequently, on

March 26, 2003, this Court ordered Group Management to retain other counsel because Mr.

Ware has been barred from practicing before this Court.

           In a Form 8-K filed with the United States Securities and Exchange Commission on

March 18, 2003, the same day the Chapter 11 petition was filed, Mr. Ware purported to

resign as a director of the Debtor effective March 17, 2003. Mr. Ware signed the Form 8-K

as Chief Executive Officer. A copy of the Form 8-K is attached hereto as Exhibit C. Mr.

Ware is the same individual personally held in contempt by the District Court and whose

incarceration was provided for in the Contempt Order.

           Group Management did not file Schedules of Assets and Liabilities and its Statement

of Financial Affairs on the petition date (March 18, 2003) and, as of the date of the Motion

and Brief, has not yet filed those documents as required by Rule 1007(c) of the Federal Rules

of Bankruptcy Procedure. No order extending the time set forth in Bankruptcy Rule 1007(c)

has been sought or obtained. Those few documents that have been filed demonstrate that

Group Management has, at most, two creditors other than the Movants. In addition, the

petition discloses that Group Management has assets of only approximately $150,000.

           Significantly, while disregarding its obligations under Bankruptcy Rule 1007(c),

Group Management has moved on an emergency basis, without identifying any basis for

emergency relief, to reject the contracts on which the Order and Judgment are based, even

though the Movants’ obligations under those contracts have been fully performed and Group

Management’s obligations thereunder are now fixed by and subject to the Orders of the

District Court. Plainly, this case was not commenced for the purpose of reorganization, but

to evade compliance with the Order and Judgment and Contempt Order of the District Court.


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                                                III.

                                          ARGUMENT

A.         Dismissal Of This Case For “Cause” Is Appropriate.

           Group Management’s Chapter 11 case should be dismissed for cause under section

1112(b) of the Code. Section 1112(b) lists nine non-exclusive grounds for dismissal of a

case. That list is not exhaustive and courts have determined that a “lack of good faith” may

also be cause for dismissal of a case under section 1112(b). See, e.g., In re Phoenix

Piccadilly, Ltd., 849 F.2d 1393 (11th Cir. 1988); In re Moog, 159 B.R. 357, 360 (Bankr. S.D.

Fla. 1993).

           There is no uniform test for determining bad faith. However, courts have identified

certain factors that show an “intent to abuse the judicial process and the purposes of the

reorganization provisions.” Moog, 159 B.R. at 360 (quoting In re Natural Land Corp., 825

F.2d 296 (11th Cir. 1987)). The factors generally considered by courts are: (1) the timing of

the petition; (2) whether the debtor is financially distressed; (3) whether the petition has been

filed strictly to circumvent pending litigation; and (4) whether the petition has been filed to

get out of a “bad deal.” Id. See also In re Dixie Broadcasting, Inc., 871 F.2d 1023, 1027

(11th Cir. 1989), cert. denied, Dixie Broadcasting, Inc. v. Radio WBHP, Inc., 493 U.S. 853,

110 S.Ct. 154 (1989). As discussed below, Group Management’s Chapter 11 case plainly

has been filed in bad faith.

           Group Management has filed this case solely for the purpose of evading compliance

with the Order and Judgment and Contempt Order of the District Court, the underlying issues

of which have been litigated before the District Court at substantial time and cost. This

conclusion is supported by the fact that Group Management’s case lacks any of the indicia of


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a bona fide Chapter 11 case. Group Management apparently has only two creditors other

than the Movants, has virtually no assets and has no ongoing business operations. In

addition, Group Management’s petition was filed by Thomas Ware, a lawyer with a personal

interest in staying the District Court’s Contempt Order since (as a director and Chief

Executive Officer) he personally was held in contempt and subject to arrest and who filed

Group Management’s case even though he is barred from practicing before this Court.

Further, Group Management has disregarded the provisions of Bankruptcy Rule 1007 by

failing to file, among other things, its Schedules of Assets and Liabilities and Statement of

Financial Affairs.

           Group Management filed an “Emergency Motion to Reject Executory Contract,”

which reveals Group Management’s obvious motivation in filing this Chapter 11 case. By

that Motion, Group Management seeks, on an emergency basis, without identifying any basis

for an emergency, to reject the contracts on which the Order and Judgment are based, even

though the Movants’ obligations under those contracts have been fully performed and Group

Management’s obligations, having been fully litigated, are now fixed by and subject to the

Orders of the District Court. Group Management seeks to in effect have this Court vacate

and re-litigate the Orders of the District Court. Clearly, this case was not commenced for the

purpose of reorganization, or any other purpose consistent with the Bankruptcy Code, and

should be dismissed for “cause” pursuant to 11 U.S.C. § 1112(b).

B.         Dismissal is Appropriate Under Section 305(a).

           A court may also dismiss a case under section 305, the abstention section of the

Bankruptcy Code. Specifically, section 305 of the Code provides, in pertinent part:




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                     (a) The court, after notice and a hearing, may dismiss a case
                     under this title, or may suspend all proceedings in a case under
                     this title, at any time if –

                     (1) the interests of creditors and the debtor would be better served by
                     such dismissal or suspension….

11 U.S.C. § 305(a). Though no uniform test has been established to determine whether

dismissal is appropriate under section 305(a)(1), at three common themes emerge from the

section 305(a) cases. See In re Axl Industries, Inc., 127 B.R. 482, 484 (S.D. Fla., 1991),

aff’d, 977 F.2d 598 (11th Cir. 1992); In re Safon Ochart, 74 B.R. 131 (Bankr. D.P.R. 1986);

In re Beacon Reef Limited Partnership, 43 B.R. 644, 646 (Bankr. S.D. Fla. 1984).

           The first theme is the motivation of the party seeking bankruptcy. For example, a

debtor that has litigated extensively in a non-bankruptcy forum and lost should not be

permitted to employ the bankruptcy process effectively to obtain relief it has been

unsuccessful in pursuing in another forum. In re Safon Ochart, 74 B.R. at 134. Second, the

cases consistently discuss the availability of another forum to protect the interest of the

parties. For instance, where another better-qualified forum has or is in the process of

litigating the identical issues, abstention may be warranted. Id. Third, abstention is proper

when it promotes economy. In the instant case, each of these considerations strongly

supports abstention by this Court under section 305(a).

           In the instance case, Group Management’s motivation in filing its Chapter 11 case is

obvious. This case was not commenced for the purpose of reorganization, but to evade

compliance with the Order and Judgment and Contempt Order of the District Court, the

underlying issues of which have been fully litigated before the District Court at substantial

time and expense. Indeed, Group Management’s Emergency Motion is an obvious attempt



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to have this Court in essence vacate and re-litigate the District Court’s Orders. That case is

still pending before the District Court and the District Court is, therefore, a forum available

to protect the interest of the parties. This Court should abstain from hearing Group

Management’s Chapter 11 case pursuant to 11 U.S.C. § 305(a).

C.         Relief From the Automatic Stay Should be Granted.

           In the event that this Court determines not to dismiss this Chapter 11 case or abstain

from hearing it, Section 362(d) of the Bankruptcy Code provides for the lifting of the

automatic stay for, among other reasons, “cause”:

           On request of a party in interest and after notice and a hearing, the court shall
           grant relief from the stay provided under subsection (a) of this section, such as
           by terminating, annulling, modifying, or conditioning such stay –

           (1) for cause, including the lack of adequate protection of an interest in
           property of such property of such party in interest….

11 U.S.C. § 362(d)(1). The United States Court of Appeals for the Eleventh Circuit has

determined that sufficient “cause” exists to grant relief from the automatic stay pursuant to

11 U.S.C. § 362(d)(1) if a petition in bankruptcy is filed in bad faith. See, e.g., Barclays-

American/Business Credit, Inc. v . Radio WBHP, Inc. (In re Dixie Broadcasting, Inc.), 871

F.2d 1023, 1026-27 (11th Cir. 1989); Phoenix Piccadilly, Ltd. v. Life Ins. Co. of Virginia, et

al. (In re Phoenix Piccadilly, Ltd), 849 F.2d 1393, 1394 (11th Cir. 1988); Natural Land Corp.

v. Baker Farms, Inc. (In re Natural Land Corp.), 825 F.2d 296 (11th Cir. 1987).

           As set forth in detail above, Group Management’s Chapter 11 case has been filed in

bad faith because it was not commenced for the purpose of reorganization, but to evade

compliance with the Order and Judgment and Contempt Order of the District Court and,




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indeed, to attempt in essence to vacate and re-litigate those Orders through its “Emergency

Motion to Reject Executory Contract.”

           Further, the issues underlying this case have been fully litigated and should be

returned to the court most knowledgeable of the facts, circumstances and conduct of the

parties, particularly where, as here, the expertise of this Court is not required. See HoltKamp

v. Littlefield, 669 F.2d 505, 508-09 (7th Cir. 1982); see also Baldino v. Wilson (In re

Wilson), 116 F.3d 87, 90-91 (3 rd Cir. 1997) (“[I]t will often be more appropriate to permit

proceedings to continue in their place of origin, when no great prejudice to the bankruptcy

estate would result….”). Consequently, “cause” exists to grant relief from the automatic stay

of 11 U.S.C. § 362(a) so as to permit the Movants to return to the District Court and to

enforce the Orders of that Court.

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                                                 IV.

                                          CONCLUSION

           For the f orgoing reasons, the Movants respectfully request that this Court dismiss

Group Management’s Chapter 11 case pursuant to 11 U.S.C. § 1112(b), or to abstain from

hearing the case pursuant to 11 U.S.C. § 305(a). In the alternative, the Movants request,

pursuant to 11 U.S.C. § 362(d), that this Court grant them relief from the automatic stay of

11 U.S.C. § 362(a) to return to the District Court to enforce the Orders of that Court.

Dated: April 11, 2003                               Respectfully submitted,




                                                           /s/ Dennis S. Meir
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                                                    HOLDINGS, LTD., AND STONESTREET
                                                    LIMITED PARTNERSHIP




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                                   CERTIFICATE OF SERVICE

           I hereby certify that a true copy of this Brief in Support of Emergency Motion To

Dismiss Or, In The Alternative, For Relief From The Automatic Stay, And Request For

Emergency Hearing was served by Facsimile on the parties below on April 11, 2003.

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Dated: April 11, 2003                                Respectfully submitted,

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